8/3/2021                     Case
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        Google Chat Retention Policy
        Policy Last modi ed: November 18, 2020
                             fi
        Page last modi ed: February 26, 2021
                        fi
        Our Google Chat retention policy aims to reduce redundant, obsolete, and trivial information in corporate chats.
        By helping us all focus on our most meaningful and useful messages, we can reduce time spent sifting through
        irrelevant old messages and reduce storage costs.



        Retention Periods
           • 24 hours if history is off

           • 30 days for history-on chats with just one one other person

           • Currently 18 months for history-on chats in a group conversation or at (non-threaded) room




                                                                                          fl
             • Exception: 30 days if the history-on at room was created from within classic Hangouts before 11/18/20
                                                           fl
             • Please be aware: You may have noticed that your group chats created in classic Hangouts are also re ected




                                                                                                                              fl
                as at rooms in Google Chat (and vice versa). Historically, both had a retention period of 30 days. The
                   fl
                current 18-month retention of at rooms is a technical interim step and will be brought back to the initial 30
                                                     fl
                days earliest H1 2021 (we’ll be sure to announce when this is happening!). If you need 18-month-long
                retention, please consider a threaded room instead.

           • 18 months for chats in a threaded room (history is always on and can’t be turned off)

              NOTE: Turning history “on” or “off” applies only to messages sent after that change. For example, if you send
              or receive messages while history is “off” and then you turn it “on,” the pre-existing messages will only be
              retained for 24 hours.



              NOTE: Once a chat’s retention period expires and it’s removed from your view, it can’t be recovered back into
              your view.




        Business Records
        If your role involves data that is potentially subject to different or longer retention periods (for example, private
        user data or tax records), consider taking information like this off of Chat into Gmail (Gmail Retention Policy),
         Google Docs, or another storage system. If you aren’t sure whether the data you’re handling should be stored
        outside of Chat for a different retention period, reach out to your manager or product counsel (go/whichlawyer).
             Otherwise, feel free to reach out to us at records-retention@google.com          for more general data retention
        questions.




        Legal Holds                                                                                             EXHIBIT 1
                                                                CONFIDENTIAL
                                                                                                              CONFIDENTIAL
https://support.google.com/info-gov/answer/9366391?hl=en&ref_topic=10252791                                                                 1/2


                                                                                                                                   EXHIBIT 1-001
8/3/2021              Case
                       Case3:21-md-02981-JD
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                                       Google ChatDocument
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        If you’ve been noti ed that you’re subject to a “legal hold”: To comply with our preservation obligations, your




                            fi
        Google Chats described below will be preserved automatically (all retention periods are paused) while the
        relevant matter is pending. Still, don’t manually delete any chats relevant to the matter at issue under any
        circumstances.

           • On-the-record 1:1s, Group DMs, and Flat Rooms you’ve sent or received

           • Threaded Rooms conversations in which you’ve participated (i.e., sent a message, not just received)
        Once all applicable legal holds have been lifted, the retention periods will take effect again and remove expired
        messages.



        Policy Scope
        This policy applies to corporate Google Chat only. It applies to all employees and our extended workforce
        (temporary workers/vendors/contractors) across Alphabet (minus Calico and Sidewalk Labs).



        Approvals & Changes
        This policy periodically will be reviewed by Google Legal to ensure alignment and compliance with our legal and
        regulatory obligations. Any changes to this retention policy will be approved by Google Legal.



        Questions/Feedback
        If you have any questions about this policy, you can send us an email at records-retention@google.com.

                                                            Chat Retention FAQs




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https://support.google.com/info-gov/answer/9366391?hl=en&ref_topic=10252791                                                     2/2


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